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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 DISPLAY TECHNOLOGIES, LLC,                       )
                                                  )
                Plaintiff,                        )
                                                  )   C.A. No. 20-00260-RGA
        v.                                        )
                                                  )   JURY TRIAL DEMANDED
 FERRARI NORTH AMERICA, INC.,                     )
                                                  )
                Defendant.                        )

            DEFENDANT FERRARI NORTH AMERICA, INC.’S ANSWER AND
              DEFENSES TO COMPLAINT FOR PATENT INFRINGEMENT

       Defendant Ferrari North America, Inc. (“Ferrari”), by and through the undersigned

attorneys, hereby responds by way of Answer and Defenses to the Complaint (“Complaint”) of

plaintiff Display Technologies, LLC (“Display” or “Plaintiff”), as follows:

                               PARTIES AND JURISDICTION

       1.      Ferrari admits that Display purports to present an action for patent infringement

under Title 35 of the United States Code, and requests injunctive relief and damages. Ferrari denies

any remaining allegations in this paragraph of the Complaint.

       2.      The allegations of the paragraph are legal conclusions that do not require a response

from Ferrari. To the extent the allegations require a response, Ferrari admits that this Court has

subject matter jurisdiction for civil actions for patent infringement pursuant to U.S.C. §§ 1331 and

1338(a), and denies any remaining allegations in this paragraph of the Complaint.

       3.      Ferrari is without knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph of the Complaint and therefore denies those allegations.

       4.      Ferrari admits the allegations of this paragraph.

       5.      The allegations of the paragraph are legal conclusions that do not require a response
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from Ferrari. To the extent the allegations require a response, Ferrari admits that this Court has

personal jurisdiction over Ferrari North America, Inc. but denies that Ferrari has committed acts

giving rise to Plaintiff’s claim of patent infringement within this judicial district and the state of

Delaware, and denies any remaining allegations in this paragraph of the Complaint.

        6.       Ferrari denies the allegations of this paragraph.

                                               VENUE

        7.       This paragraph of the Complaint states a legal conclusion and does not require a

response from Ferrari. To the extent a response is required, Ferrari denies the allegations set forth

in this paragraph of the Complaint and specifically denies that venue is convenient in this

jurisdiction.

                                     COUNT I
                (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)

        8.       Ferrari references and incorporates by reference all of the preceding paragraphs of

this Answer.

        9.       Ferrari admits that the present action purports to arise under the patent laws of the

United States. Ferrari is without knowledge or information sufficient to form a belief as to the truth

of the remaining allegations in this paragraph of the Complaint and therefore denies those

allegations.

        10.      Ferrari is without knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph of the Complaint and therefore denies those allegations.

        11.      Ferrari admits that a copy of U.S. Patent No. 9,300,723 (the “’723 patent” or

“Asserted Patent”) is attached to the Complaint as Exhibit A.

        12.      Ferrari denies the allegations of this paragraph.

        13.      Ferrari denies the allegations of this paragraph.



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       14.     Ferrari denies the allegations of this paragraph.

       15.     Ferrari admits that certain infotainment systems in Ferrari vehicles include

Bluetooth functionality, and denies the remaining allegations of this paragraph.

       16.     Ferrari denies the allegations of this paragraph.

       17.     Ferrari denies the allegations of this paragraph.

       18.     Ferrari denies the allegations of this paragraph.

       19.     Ferrari denies the allegations of this paragraph.

       20.     Ferrari denies the allegations of this paragraph.

       21.     Ferrari denies the allegations of this paragraph.

       22.     Ferrari denies the allegations of this paragraph.

       23.     Ferrari denies the allegations of this paragraph.

       24.     Ferrari denies the allegations of this paragraph.

       25.     Ferrari denies the allegations of this paragraph.

       26.     Ferrari denies the allegations of this paragraph.

       27.     Ferrari is without knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph of the Complaint and therefore denies those allegations.

                                     PRAYER FOR RELIEF

       Ferrari denies that Display is entitled to any of the relief requested in paragraphs (a) through

(e) of its Prayer for Relief or to any relief in any form whatsoever from Ferrari.

                                            DEFENSES

       28.     Ferrari asserts the following defenses and in asserting such defenses does not

concede that it bears the burden of proof as to any of them. Discovery has not yet begun, and

Ferrari has not yet collected and reviewed all of the information and materials that may be relevant




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to the matters and issues raised herein. Accordingly, Ferrari reserves the right to amend, modify,

or expand these defenses and to take further positions as discovery proceeds in this case.

                                FIRST DEFENSE: INVALIDITY

       29.     One or more of the claims of the Asserted Patent are invalid for failure to satisfy

the requirements of patentability set forth in 35 U.S.C. § 101, et seq.

       30.     One or more of the claims of the Asserted Patent are invalid under 35 U.S.C. §§

102 and/or 103 as anticipated and/or obvious.

       31.     One or more of the claims of the Asserted Patent fail to meet the requirements of

35 U.S.C. § 112, at least as being indefinite and lacking written description and enablement for

failing to describe and enable the full scope of the claims

                        SECOND DEFENSE: NON-INFRINGEMENT

       32.     Ferrari has not made, used, sold, offered for sale, and/or imported in or into the

United States any system, product, or process that practices any claim in the Asserted Patent, either

literally or under the doctrine of equivalents.

       33.     Ferrari has not actively induced or contributed to the infringement of another under

35 U.S.C. §§ 271(b)-(c). Ferrari has not induced infringement nor contributed to the infringement

of another because, at a minimum, Ferrari lacked the requisite state of mind and has not actively

and knowingly aided or abetted the direct infringement of another.

               THIRD DEFENSE: LICENSE AND/OR PATENT EXHAUSTION

       34.     To the extent that one or more of Ferrari’s suppliers hold a license or other rights

to the Asserted Patent and supplies licensed components and/or parts for assembly of or assembly

into the accused products, Display’s claims would be barred.




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                       FOURTH DEFENSE: MARKING AND NOTICE

       35.     To the extent that Display and/or any licensee of the Asserted Patent had an

obligation and failed to mark products that fall within the claims of the Asserted Patent, Display’s

claims against Ferrari would be barred, in whole or in part, in accordance with 35 U.S.C. § 287.

                     FIFTH DEFENSE: FAILURE TO STATE A CLAIM

       36.     Display fails to state a claim against Ferrari upon which relief can be granted.

       37.     Ferrari cannot be liable for indirect infringement before its receipt of the Complaint,

filed on February 23, 2020, at least because Ferrari did not have notice of the Asserted Patent

before that time. Ferrari cannot be liable for indirect infringement after its receipt of the

Complaint, filed on February 23, 2020, at least because the Complaint does not put Ferrari on

sufficient notice of any alleged infringement.

       38.     To the extent Display alleges that Ferrari has indirectly infringed and/or continues

to indirectly infringe the Asserted Patent under 35 U.S.C. §§ 271(b),(c) Display has failed to plead

any facts that, if true, could render Ferrari liable for indirect patent infringement.

                SIXTH DEFENSE: PROSECUTION HISTORY ESTOPPEL

       39.     Display’s claims for relief are barred, in whole or in part, by prosecution history

estoppel based on statements, representations, and admissions made during the prosecution before

the U.S. Patent Office of the patent applications that led to the Asserted Patent.

         SEVENTH DEFENSE: WAIVER, ESTOPPEL, AND UNCLEAN HANDS

       40.     Display’s claims against Ferrari are barred, in whole or in part, by one or more of

the equitable doctrines of waiver, estoppel, and unclean hands because of Display’s unreasonable

and inexcusable delay in filing this litigation and/or its intervening actions both during prosecution




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of the Asserted Patent and between issuance of the Asserted Patent and the date of the filing of the

Complaint.

       41.        Despite that Ferrari and its predecessors have sold and publicly marketed the

accused functionality for several years, Display made no assertion of any claim against Ferrari

until, at the earliest, Ferrari received the Complaint.

       42.        Ferrari has been materially prejudiced by Display’s delay in bringing its claim at

least because the passage of so much time has potentially led to the loss of evidence that Ferrari

could use in defending itself against Display’s claims.

                           EIGHTH DEFENSE: LIMIT ON DAMAGES

       43.        Display’s claims for damages, if any, against Ferrari for alleged infringement of the

Asserted Patent are limited by 35 U.S.C. §§ 286 and/or 288.

                                       PRAYER FOR RELIEF

       Ferrari denies any and all allegations contained in the remainder of the Complaint and

denies that Display is entitled to any of the relief requested in paragraphs (a) through (e) of its

Prayer for Relief or to any relief in any form whatsoever from Ferrari. Ferrari respectfully requests

that the Court:

       A.         Dismiss Display’s Complaint with prejudice, and that Display take nothing by way

       of its Complaint;

       B.         Determine that Display is not entitled to any of its requested relief, or any relief

       whatsoever;

       C.         Award Ferrari its costs and disbursements in this action;

       D.         Declare this case exceptional pursuant to 35 U.S.C. § 285 and award Ferrari its

       reasonable attorneys’ fees and costs in this action; and




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        E.      Grant Ferrari such other and further relief as this Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

        In accordance with Rule 38 of the Federal Rules of Civil Procedure Ferrari respectfully

demands a jury trial of all issues triable to a jury in this action.




                                                        POTTER ANDERSON & CORROON LLP
 OF COUNSEL:

 Frank C. Cimino, Jr., Esq.                             By: /s/ Philip A. Rovner
 Megan S. Woodworth, Esq.                                      Philip A. Rovner (#3215)
 Jonathan L. Falkler, Esq.                                    Jonathan A. Choa (#5319)
 VENABLE LLP                                                   P.O. Box 951
 600 Massachusetts Avenue, NW                                  Wilmington, DE 19899
 Washington, DC 20001                                          (302) 984-6000
 (202) 344-4569                                               provner@potteranderson.com
                                                              jchoa@potteranderson.com
 William Hector, Esq.
 VENABLE LLP                                            Attorneys for Defendant
 101 California Street
 Suite 3800
 San Francisco, CA 94111
 (415) 653-3750
 WAHector@Venable.com

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 6734966




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